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 Attorney for Defendant
 CITY AND COUNTY OF HONOLULU

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAI‘I

GAIL GARIN, Individually and as          CIVIL NO. CV21-00104
Administrator of the Estate of CASIMIR
POKORNY, Deceased; NAOTO                 DEFENDANT-PETITIONER CITY
IKEDA, Individually and as Personal      AND COUNTY OF HONOLULU’S
Representative of the Estate of Reino    NOTICE OF REMOVAL OF CIVIL
Ikeda, Deceased; LIANNA MCCURDY;         ACTION UNDER 28 U.S.C. §
and DANIEL VERDERAME,                    1441(C); DECLARATION OF
                                         COUNSEL; EXHIBITS “A” – “B”;
            Plaintiff,                   CERTIFICATE OF SERVICE
      vs.

ALINS SUMANG; SHELDON WATTS;
CITY AND COUNTY OF HONOLULU;
JOHN DOES 1-10; JANE DOES 1-10;
DOE CORPORATIONS 1-10; DOE
PARTNERSHIPS 1-10; DOE JOINT
VENTURES 1-10; DOE LIMITED        Trial Date: None.
LIABILITY ENTITIES 1-10; DOE NON-
PROFIT ENTITIES 1-10; DOE
GOVERNMENTAL ENTITIES 1-10;
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DOE UNINCORPORATED ENTITIES
1-10; and OTHER DOE ENTITIES 1-10,

             Defendants.


   DEFENDANT-PETITIONER CITY AND COUNTY OF HONOLULU’S
  NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(C)

 TO THE CLERK OF THE ABOVE-ENTITLED COURT:

       PLEASE TAKE NOTICE that Defendant-Petitioner CITY AND COUNTY

 OF HONOLULU, in accordance with 28 U.S.C. §§ 1331, 1441(c), 1446 submit

 this Notice of Removal from the Circuit Court of the First Circuit, State of Hawaii,

 to this Honorable Court. Defendant Sheldon Watts through communication with

 conflict counsel, (pending Honolulu City Council approval) consents to and joins

 in the Notice of Removal.

                        STATE COURT PROCEEDINGS

       1.     On November 8, 2019, the City received a Complaint, Demand for

 Jury, and Summons in an action entitled, Gail Garin, Individually and as

 Administrator of the Estate of Casimir Pokorny, Deceased; Lianna Mccurdy; and

 Daniel Verderame vs. Alins Sumang; Sheldon Watts; City and County of

 Honolulu, et al., Civil No. 1CCV-XX-XXXXXXX, filed in the Circuit Court of the

 First Circuit, State of Hawaii on November 4, 2019 (“Complaint”). A true and

 accurate copy of the aforementioned Complaint is attached hereto as Exhibit “A”.

       2.     The Compliant alleged state five law claims: Negligence, Negligent


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 Pursuit, Dram Shop, Negligent/Intentional Infliction of Emotional Distress, and

 Punitive Damages.

       3.     On January 20, 2021, the City received a Verified First Amended

 Complaint, Demand for Jury Trial, and Summons in an action entitled, Gail Garin,

 Individually and as Administrator of the Estate of Casimir Pokorny, Deceased;

 Naoto Ikeda, Individually and as Personal Representative of the Estate of Reino

 Ikeda, Deceased; Lianna McCurdy; and Daniel Verderame vs. Alins Sumang;

 Sheldon Watts; City and County of Honolulu, et al., Civil No. 1CCV-XX-XXXXXXX,

 filed in the Circuit Court of the First Circuit, State of Hawaii on January 20, 2021

 (hereinafter referred to as the “FAC”). A true and accurate copy of the

 aforementioned FAC is attached hereto as Exhibit “B.”

       4.     The FAC alleges two federal claims and three state law claims.

       5.     Count II (Negligence/Danger Created by Affirmative Conduct)

 alleges a federal 42 U.S.C. § 1983 claim for violation of the Due Process Clause of

 the Fourteenth Amendment, claiming an officer may be held liable to protect an

 individual where the state has placed that individual in danger through its

 affirmative conduct. See Ex. B ⁋⁋ 32-35. Plaintiffs bring the Section 1983 claim,

 alleging, “a violation of rights protected by the Constitution or created by state or

 federal statute.” See Ex. B ⁋ 33.

       6.     Count III (Negligent Training Re Custom/Practice/Policy) alleges a


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 federal § 1983 claim for failure to properly and adequately train its officers,

 including Watts, as to its Motor Vehicle Pursuits Policy by permitting its officers

 to follow fleeing suspects without notifying dispatch of the initiation of pursuit,

 and not using flashing lights and continuous siren. See Ex. B ⁋⁋ 81-83.

                                        VENUE

       7.     Venue is proper in the District of Hawaii under 28 U.S.C. §§ 1391(b)

 and 1441(a) because all defendants are residents of the State of Hawaii in which

 the district is located and the events giving rise to the claims occurred in the

 judicial district of Hawaii.

                            GROUNDS FOR REMOVAL

       8.     The above-referenced action is a civil action of which this Court has

 original jurisdiction under 28 U.S.C. § 1331, as the Complaint against the City

 includes claims or rights arising under the Constitution and laws of the United

 States, and is one which the City is entitled to remove to this Court pursuant to 28

 U.S.C. § 1441(a) & (c).

                           TIMELINESS OF REMOVAL

       9.     This Notice is timely under 28 U.S.C. §1446(b) because it is filed

 within thirty days of receipt on January 20, 2021, of the FAC, the first pleading to

 state federal claims.




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                           CONSENT OF DEFENDANTS

       10.    The City is in the process of obtaining conflict counsel for Defendant

 Watts, which requires Honolulu City Council approval. The Law Office of Cary

 Tanaka, who will be Watts’ counsel upon City Council approval, indicated his

 consent to the removal, and will ratify his consent once the Council authorizes his

 retention. Upon information and belief, Defendant Sumang has not yet been

 served with the FAC.

             NOTICE TO ADVERSE PARTIES AND STATE COURT

       11.    Pursuant to 28 U.S.C. § 1446(d) a copy of this Notice shall be

 promptly served on Plaintiff’s counsel of record and will be filed with the Clerk of

 the Court of the First Circuit, State of Hawaii.

                                   CONCLUSION

       12.    By filing this Notice and removing this action to this Court, the City

 does not waive or compromise any claims, defenses, objections, or motions

 available or state law, including the defense that one or more parties was added

 after the statute of limitations ran. The City expressly reserves the right to

 challenge the justiciability of the claim pursuant to the Federal Rules of Civil

 Procedure and/or any other rule or authority.




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       WHEREFORE, the City prays that the above referenced state court action

 now pending against it in the Circuit Court of the First Circuit, State of Hawaii, be

 removed therefrom to this Court.

       DATED: Honolulu, Hawai‘i, February 18, 2021.

                                    PAUL S. AOKI
                                    Acting Corporation Counsel

                                    By: /s/ Donovan A. Odo
                                        DONOVAN A. ODO
                                        Deputy Corporation Counsel

                                        Attorney for Defendant
                                        CITY AND COUNTY OF HONOLULU




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